WELLS FARGO BANK, NATIONAL ASSOCIATION as Trustee FOR STRUCTURED ASSET MORTGAGE INVESTMENTS II INC. BEAR STEARNS MORTGAGE FUNDING TRUST 2006-AR2, MORTGAGE PASS-THROUGH CERTIFICATES, SERIES 2006-AR2, a/k/a Wells Fargo Bank, National Association as Trustee for Certificateholders of Structured Asset Mortgage Investments II Inc. Bear Stearns Mortgage Funding Trust 2006-AR2, Mortgage Pass-Through Certificates, Series AR-2, Appellant, v. DAISY TRUST, Respondent.Dismissed.